     Case 3:18-cv-01529-JLS-MDD Document 22 Filed 04/22/19 PageID.387 Page 1 of 2


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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    LES FERGUSON, an individual,                        Case No.: 18-CV-1529 JLS (MDD)
12                                       Plaintiff,
                                                          ORDER REQUESTING
13    v.                                                  ADDITIONAL BRIEFING
                                                          REGARDING STANDING OF
14    CVS PHARMACY, INC., a corporation,
                                                          PROPOSED INTERVENORS
15                                     Defendant.
                                                          (ECF No. 4)
16
17         Presently before the Court is Proposed Intervenors Jeffrey Worth and Robert Burns’
18   Motion to Intervene and to Transfer or, in the Alternative, to Stay This Action Pursuant to
19   the First-to-File Rule (“Mot.,” ECF No. 4). In opposing the Proposed Intervenors’ request
20   to intervene as a matter of right under Federal Rule of Civil Procedure 24(a)(2), Plaintiff
21   Les Ferguson argues that “[t]he proposed Intervenors . . . lack standing.” ECF No. 7
22   (“Opp’n”) at 1. The Proposed Intervenors rejoin that “intervenors do not need Article III
23   standing.” ECF No. 14 (“Reply”) at 8 (citing Freedom from Religion Found., Inc. v.
24   Geithner, 644 F.3d 836, 843 (9th Cir. 2011)).
25         The United States Supreme Court recently held that “an intervenor of right must
26   have Article III standing in order to pursue relief that is different from that which is sought
27   by a party with standing.” Town of Chester, N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645,
28   1651 (2017). The Ninth Circuit reiterated this requirement in Oregon Prescription Drug

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                                                                                18-CV-1529 JLS (MDD)
     Case 3:18-cv-01529-JLS-MDD Document 22 Filed 04/22/19 PageID.388 Page 2 of 2


 1   Monitoring Program v. United States Drug Enforcement Administration, 860 F.3d 1228,
 2   1234 (9th Cir. 2017), and In re Volkswagen “Clean Diesel” Marketing, Sales Practices,
 3   and Product Liability Litigation, 894 F.3d 1030, 1044 (9th Cir. 2018).
 4         The Court believes that further briefing on the standing of the Proposed Intervenors
 5   would be helpful in its determination of the Motion. Specifically, the Court is interested
 6   in (1) whether Plaintiff and the Proposed Intervenors seek different relief, and (2) whether
 7   the Proposed Intervenors have standing under Article III to intervene as a matter of right
 8   in this action. Accordingly, the Court ORDERS ADDITIONAL BRIEFING, not to
 9   exceed ten (10) pages per side, to be filed on or before fourteen (14) days from the date on
10   which this Order is electronically docketed.
11         IT IS SO ORDERED.
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13   Dated: April 22, 2019
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